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13   East West Tea Company, LLC

14
                                UNITED STATES DISTRICT COURT
15
                               SOUTHERN DISTRICT OF CALIFORNIA
16
17
      SYDNEY COHEN, an individual on                  Case No: 17CV2339-JLS-BLM
18    behalf of herself and all others similarly
19    situated,
                                         Plaintiff,   JOINT MOTION FOR DISMISSAL
20                                                    PURSUANT TO FED. R. CIV. P.
      v.                                              41(a)(1)(A)(ii)
21
22    EAST WEST TEA COMPANY, LLC, an
      Oregon Limited Liability Company, and
23    DOES 1-50, inclusive,
                                                      Judge: Hon. Janis L. Sammartino
24                                     Defendant.
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      JOINT MOTION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
     Case 3:17-cv-02339-JLS-BLM Document 29 Filed 03/01/19 PageID.236 Page 2 of 2


 1         Plaintiff Sydney Cohen (“Plaintiff”) and Defendant East West Tea Company, LLC
 2   (“Defendant”) respectfully submit this Joint Motion for Dismissal pursuant to Rule
 3   41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Plaintiff and Defendant hereby
 4   jointly move, in consideration of a negotiated settlement executed by them, to dismiss with
 5   prejudice the above-captioned action.
 6
 7   Date: March 1, 2019                          Respectfully submitted,
 8
                                                  /s/ Todd D. Carpenter
 9                                                CARLSON LYNCH SWEET
                                                  KILPELA & CARPENTER, LLP
10                                                Todd D. Carpenter
11                                                Attorneys for Plaintiff
12
     Date: March 1, 2019                          /s/ Jaikaran Singh
13
                                                  FOLEY & LARDNER LLP
14                                                Jaikaran Singh
15                                                Attorneys for Defendant East West Tea
                                                  Company, LLC
16
17   I, Todd D. Carpenter, hereby certify that the content of this document is acceptable to all
     persons required to sign this document and that I obtained the authorizations necessary
18
     for the electronic signature of all parties for this document.
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                                                  /s/ Todd D. Carpenter
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      JOINT MOTION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)
